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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **          *
                                               *
  COLORADO RIVER INDIAN TRIBES,                *
                     Plaintiff,                *
                                               *
  v.                                               No. 06-901L
                                               *
                                                   Filed: October 21, 2016
                                               *
  UNITED STATES,                               *
                     Defendant.                *
                                               *
   * * * * * * * * * * * * * * * * **          *

                                         ORDER


       The court is in receipt of the parties’ October 21, 2016 joint stipulation of dismissal
with prejudice. The court commends the parties for working well together to resolve the
above captioned case without the need for further litigation. Pursuant to Rule
41(a)(1)(A)(ii) of the Rules of the United States Court of Federal Claims (2016), this court
ORDERS that this case be DISMISSED with prejudice, with each party to bear its own
fees and costs. The Clerk of the Court shall enter JUDGMENT consistent with this Order.


       IT IS SO ORDERED.

                                                       s/Marian Blank Horn
                                                       MARIAN BLANK HORN
                                                                Judge
